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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                                              )
NATIONAL AIR TRAFFIC                          )
CONTOLLERS ASSOCIATION, AFL-                  )
CIO (“NATCA”)                                 )
1325 Massachusetts Avenue, NW                 )
Washington, DC 20005                          )
                                              )
AMANDA FUCHS,                                 )
10215 Lenox Street                            )
Clermont, FL 34711                            )
                                              )
KEVIN BIANCHI,                                )
152 Comstock Drive                            )
Milford, NH 03055                             )
                                              )
JONATHAN BARNETT,                             )
467 Merlot Court                              )
Walton, KY 41094                              )
                                              )
and                                           )
                                              )
JOHN GARNER,                                  )
4684 Blackgum Court                           )
Burlington, KY 41005                          )   Civil Action No. ________________
                                              )
       Plaintiffs,                            )
                                              )
v.                                            )
                                              )
                                              )
THE UNITED STATES,                            )
                                              )
DONALD J. TRUMP, in his official              )
capacity as President of the United States,   )
1600 Pennsylvania Avenue, N.W.                )
Washington, D.C. 20006                        )
                                              )
DANIEL K. ELWELL, in his official             )
capacity as the Acting Administrator of the   )
Federal Aviation Administration, and the      )
FEDERAL AVIATION                              )
ADMINISTRATION,                               )
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800 Independence Avenue, S.W.,                 )
Washington, D.C. 20591                         )
                                               )
MARGARET WEICHERT, in her official             )
capacity as Acting Director of the Office of   )
Personnel Management and Deputy                )
Director for Management at the Office of       )
Management and Budget, and the OFFICE          )
OF PERSONNEL MANAGEMENT,                       )
1900 E Street, N.W., Washington, D.C.          )
20415                                          )
                                               )
MICK MULVANEY, in his official                 )
capacity as the Director of the Office of      )
Management and Budget, and the OFFICE          )
OF MANAGEMENT AND BUDGET,                      )
725 17th Street, N.W.,                         )
Washington, D.C. 20503                         )
                                               )
DAVID BERNHARDT, in his official               )
capacity as the Acting Secretary of the        )
Department of the Interior, and the            )
DEPARTMENT OF THE INTERIOR,                    )
1849 C Street, N.W.,                           )
Washington, D.C. 20240                         )
                                               )
       Defendants.                             )
                                               )
Also Serve:                                    )
                                               )
UNITED STATES ATTORNEY’S                       )
OFFICE FOR THE DISTRICT OF                     )
COLUMBIA                                       )
Attn: Civil Process Clerk                      )
United States Attorney’s Office                )
555 Fourth Street, N.W.                        )
Washington, D.C. 20530                         )
-Via Certified Mail                            )
                                               )
UNITED STATES ATTORNEY                         )
GENERAL                                        )
Tenth & Pennsylvania Avenues, N.W.             )
Washington, D.C. 20530                         )
-Via Certified Mail                            )
                                               )
                                               )

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                                          COMPLAINT

       Plaintiffs the National Air Traffic Controllers Association, AFL-CIO (“NATCA”),

Amanda Fuchs, Kevin Bianchi, Jonathan Barnett, and John Garner, on behalf of themselves and

those similarly situated, for their complaint against defendants, the United States, Donald J.

Trump, in his official capacity as President of the United States, Daniel K. Elwell, in his official

capacity as Acting Administrator of the Federal Aviation Administration, the Federal Aviation

Administration, Margaret Weichert, in her official capacity as Acting Director of the Office of

Personnel Management and Deputy Director for Management at the Office of Management and

Budget, the Office of Personnel Management, Mick Mulvaney, in his official capacity as the

Director of the Office of Management and Budget, and the Office of Management and Budget,

David Bernhardt, in his official capacity as the Acting Secretary of the Department of the

Interior, and the Department of the Interior, allege, by and through their attorneys, as follows:

                                        INTRODUCTION

       1.       Every moment of every hour of every day, the skies of the United States are

overseen by the hardworking employees of the United States Federal Aviation Administration

(“FAA”). Plaintiffs in this case are Air Traffic Controllers, employed by the United States

through the FAA to ensure the safe and expeditious flow of traffic – both in the air and on the

ground – at our nation’s airports and in its radar rooms. Each day, the FAA’s Air Traffic

Controllers are responsible for ensuring the safe routing of tens of thousands of flights, often

working lengthy, grueling overtime shifts to do so. In fact, plaintiffs’ job is so demanding and

requires such rare skills that the FAA struggles to maintain a full complement of certified Air

Traffic Controllers, even under normal circumstances.



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       2.       On December 22, 2018, annual appropriations for the federal government

suddenly lapsed, sending “non-excepted” government employees into furlough status once the

appropriated funds were exhausted. “Excepted” employees, such as the plaintiffs here, have been

forced to continue performing their duties – duties essential to the ongoing function of this

country – without any pay whatsoever. 1

       3.       This action seeks declaratory and injunctive relief to remedy the defendants’

violation of plaintiffs’ rights under the Fifth Amendment of the United States Constitution, by

depriving them of their hard-earned compensation without the requisite due process.

Additionally, this action seeks damages for the United States’ failure to pay plaintiffs and those

similarly situated employees at the FAA working in “excepted” status in accordance with the

minimum wage and overtime provisions of the Fair Labor Standards Act (“FLSA”), 29 U.S.C.

§§ 201-219.

                                 JURISDICTION AND VENUE

       4.       This action is brought for declaratory and other relief against the United States of

America and its agents, arising from the Constitution and laws of the United States. This Court

therefore has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1346, 2201, 2202, and 5 U.S.C. § 702.

       5.       Venue lies within this district pursuant to 28 U.S.C. § 1391(e).




       1
              See United States Office of Personnel Management, Guidance for Shutdown
Furloughs, available at https://www.opm.gov/policy-data-oversight/pay-leave/furlough-
guidance/guidance-for-shutdown-furloughs.pdf; United States Office of Management and
Budget, Special Instructions for Agencies Affected by a Possible Lapse in Appropriations
Starting on December 22, 2018, available at https://www.whitehouse.gov/wp-
content/uploads/2018/12/Special-Instructions-for-a-Possible-December-22-Lapse.pdf.


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                                              PARTIES

          6.       Plaintiff NATCA is a National Labor Union representing bargaining unit

employees employed by the U.S. Federal Aviation Administration (“FAA”), including air traffic

controllers assigned to terminal and en route air traffic control facilities. NATCA also represents

14 other FAA bargaining units: Air Traffic Controllers assigned to flight service stations in

Alaska, Engineering Procedures Office (AIR-110), Aircraft Certification Division (AIR),

Airports Division (ARP), Automation Support Specialists (AOS), Aviation Technical Systems

Specialists (ATSS), Drug Abatement Inspectors (DAI), Engineers and Architects (E&A),

Finance and Management (AFN), Flight Procedures Team (FPT), Regional Counsel (AGC),

Staff Support Specialists (SSS), Traffic Management Coordinators and Specialists (TMC/S), and

U.S. NOTAM Specialists. NATCA brings its Constitutional Claim pursuant to the Fifth

Amendment of the U.S. Constitution on behalf of its members.

          7.       Plaintiffs Amanda Fuchs, Kevin Bianchi, Jonathan Barnett, and John Garner

(collectively, “individual plaintiffs”), are and have at all material times been employed as Air

Traffic Controllers by the United States, through the FAA. Plaintiffs have each given their

written consent to be party plaintiffs in this action pursuant to 29 U.S.C. § 216(b). Such consents

are appended to this Complaint as Exhibit A. Individual Plaintiffs bring this action as a collective

action on behalf of themselves and all other similarly situated employees at the FAA who have

worked and/or are working in “excepted” status without pay, in accordance with 29 U.S.C. §

216(b).

          8.       Defendant United States is the United States Federal Government (“the

Government”). Defendant United States is an “employer” and “public agency” within the

meaning of 29 U.S.C. §§ 203(d), (x).



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       9.        Defendant Donald J. Trump is sued in his official capacity as the President of the

United States of America. Defendant Trump is the head of the executive branch of the United

States and is ultimately responsible for the lawful operation of executive branch agencies of the

United States.

       10.       Defendant Daniel K. Elwell is sued in his official capacity as the Acting

Administrator of the Federal Aviation Administration (“FAA”).

       11.       Defendant FAA is an agency of the executive branch of the federal government.

The FAA is located at 800 Independence Avenue, S.W., Washington, D.C. 20591. The FAA is

responsible for ensuring the safe and efficient operation of the United States aerospace system.

       12.       Defendant Margaret Weichert is sued in her official capacity as Acting Director of

the Office of Personnel Management (“OPM”) and Deputy Director for Management at the

Office of Management and Budget (“OMB”).

       13.       Defendant OPM is an agency of the executive branch of the federal government.

OPM is located at 1900 E Street, N.W., Washington, D.C. 20415. OPM’s mission and authority

are set forth in 5 U.S.C. §§ 1101-1105. OPM is responsible for setting policies and issuing

directives governing personnel management by the federal government.

       14.       Defendant Mick Mulvaney is sued in his capacity as the Director of the OMB.

       15.       Defendant OMB is an agency of the executive branch of the federal government.

OMB is located at 725 17th Street, N.W., Washington, D.C. 20503. OMB’s mission and

authority are set forth in 31 U.S.C. §§ 501-507. OMB is responsible for setting policies and

issuing directives regarding federal expenditures, federal budget development and execution, and

overseeing federal agencies’ financial management.




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       16.     Defendant David Bernhardt is sued in his official capacity as the Acting Secretary

of the Department of the Interior (“DOI”).

       17.     Defendant DOI is an agency of the executive branch of the federal government.

DOI is located at 1849 C Street, N.W., Washington, D.C. 20240. The DOI is responsible for

administering the FAA’s payroll.

                                               FACTS

       18.     Plaintiffs and other Air Traffic Controllers at the FAA form the backbone of the

world’s safest, most complex, and most efficient aerospace system. Air Traffic Controllers at the

FAA share the primary job duties of monitoring and directing the movement of aircraft on the

ground and in the air; controlling ground traffic in airport runways and taxiways; issuing landing

and takeoff instructions to pilots; transferring control of departing flights and accepting control

of arriving flights; informing pilots of critical information including weather and runway

closures; and alerting airport response staff in the event of an aircraft emergency. See Bureau of

Labor Statistics, U.S. Department of Labor, Occupational Outlook Handbook, “What Air Traffic

Controllers Do,” available at https://www.bls.gov/ooh/transportation-and-material-moving/air-

traffic-controllers.htm#tab-2.

       19.     Normally, Air Traffic Controllers benefit from the support of a range of other

FAA professionals. For example, staff support specialists who work at air traffic control facilities

provide tactical, strategic, and administrative support. Aircraft certification engineers assist in

design, production approvals, and airworthiness certification of aircraft and their components.

Engineers design and construct critical infrastructure necessary for safe flight operations

including air traffic control towers, radar maintenance and installation, navigational aids, and

communications systems.



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       20.     Air Traffic Controllers, along with the rest of the FAA team, work tirelessly to

ensure the safety of the millions of air travelers that frequent our nation’s airports each year. See

Federal Aviation Administration, Air Traffic By the Numbers, available at

https://www.faa.gov/air_traffic/by_the_numbers/media/Air_Traffic_by_the_Numbers_2018.pdf.

       21.     For that critically important work, plaintiffs and those similarly situated are paid

following each biweekly pay period as set out in the Department of the Interior payroll schedule,

available at https://www.doi.gov/ibc/resources/payroll-calendars. Plaintiffs and those similarly

situated receive their pay by regularly scheduled direct deposit through their respective banks,

made on a specified day following the end of each pay period.

                                           The Shutdown

       22.     On December 20, 2018, it was announced that President Donald J. Trump would

refuse to sign the bill necessary to continue paying the devoted aviation safety professionals of

the FAA, among many hundreds of thousands of others.

       23.     Budget appropriation lapsed on December 22, 2018, beginning a partial

government shutdown that continues through the present.

       24.     The FAA’s appropriated funds were exhausted on December 24, 2018, and non-

excepted personnel, including many of those referenced in Paragraph 19, were furloughed.

Furloughed employees are neither paid nor permitted to volunteer to work.

       25.     Air Traffic Controllers and other personnel at the FAA who were designated as

“excepted” employees were directed by defendants to continue working without pay. Plaintiffs,

as well as those similarly situated FAA employees, have worked and/or continue to work in

“excepted” status without pay at the direction and with the knowledge of the defendants.




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       26.     Individual Plaintiffs, and those similarly situated to them, are covered by the

FLSA. Plaintiffs’ statutory right to on-time payment of overtime wages earned is governed by

the FLSA.

       27.     In addition to working their regular hours without pay, since December 22, 2018,

and continuing, plaintiffs and those similarly situated to them have worked hours in excess of the

overtime threshold without any payment for the overtime hours. For example, Plaintiff Amanda

Fuchs worked, in addition to her regularly scheduled 40-hour work weeks, one additional

overtime shift on December 20, 2018, but was not paid for the overtime. In addition, Kevin

Bianchi, worked 8 hours of overtime in addition to his regularly scheduled shift during the week

of December 23, 2018 but was not paid overtime. Jonathan Barnett worked approximately one

hour of overtime during the week of December 23, 2018 but was not paid overtime.

       28.     Payment for this work has come due and owing but has not been made.

       29.     For example, Plaintiff Jonathan Barnett banks through SkyOne and receives his

direct deposit on the Friday following each pay period; his pay for work performed during the

two work weeks from December 23, 2018, through January 5, 2018, should have been deposited

January 11, 2019, but it was not. Plaintiffs Kevin Bianchi and Amanda Fuchs bank through

Aspire Federal Credit Union and receive their direct deposit on the Friday following each pay

period; their pay for work performed during the two work weeks from December 23, 2018,

through January 5, 2018, should have been deposited January 11, 2019, but it was not. Plaintiff

John Garner banks through Cinfed Credit Union and receives his direct deposits on the Friday

following each pay period; his pay for work performed during the two work weeks from

December 23, 2018, through January 5, 2018, should have been deposited January 11, 2019, but

it was not.



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       30.     Plaintiffs and those similarly situated have already worked two work weeks

without compensation and will continue to work without compensation so until the government

is reopened.

       31.     Defendants’ unlawful failure to pay plaintiffs and those similarly situated has and

continues to have a devastating effect on those devoted federal employees’ lives.

       32.     For example, Plaintiff Amanda Fuchs is the single mother of two children, ages

seventeen and eighteen. Plaintiff Fuchs also pays for part of her brother’s medical care, who

lives with her and has memory and mobility issues requiring assistance. Plaintiff Fuchs provides

financial assistance for her eighteen-year-old child, who assists Plaintiff Fuchs’ ailing mother

and stepfather. Additionally, Plaintiff Fuchs needs weekly physical therapy for a pelvic condition

in advance of surgery to take place in the coming months. Plaintiff Fuchs may not be able to

afford the necessary physical therapy, which would prevent her from having the much-needed

pelvic surgery. Prior to the shutdown, Plaintiff Fuchs took out loans against her retirement

(Thrift Savings Plan). The repayment for those loans comes out of her biweekly paycheck and

she will be unable to make loan repayments without a paycheck, which may ultimately lead to a

penalty or could impact her ability to contribute to her 401K. To compound the hardship

imposed on Plaintiff Fuchs by the Defendants’ shutdown, Plaintiff has just learned that her

grandmother passed away on the morning of January 8, 2019. Without pay, she and her family

will be unable to afford travel to attend her grandmother’s funeral.

       33.     Plaintiff Kevin Bianchi is subject to a court order garnishing his wages for

mandatory alimony payments. If Plaintiff Bianchi misses those payments, he expects his ex-

spouse may take him to court, endangering the security clearance he needs in his position as Air




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Traffic Controller. Plaintiff Bianchi’s very livelihood hangs in the balance as this shutdown

continues.

        34.    Plaintiff Jonathan Barnett is the father of three young children, ages four, seven,

and ten. He is the only financial provider for his family, as his wife is unable to work due to the

needs of his four-year-old child who has a sensory development disorder and autism. His child

requires several therapies a week, in addition to other medical care. Plaintiff Barnett’s insurance

does not cover all of his child’s medical needs, and he is faced with several medical bills per

week. Last year, Plaintiff Barnett sold his house and moved his family to a rental property. His

current landlord wishes to reoccupy the rental home and Plaintiff Barnett fears that even one late

rental payment will result in his eviction. He has savings to cover only one or two months of

rent.

        35.    Plaintiff John Garner’s wife is about to undergo serious surgery. Although

Plaintiff Garner has medical insurance, he is concerned that the surgery will come at substantial

uncovered cost, which he may not be able to pay.

        36.    Defendants’ ongoing failure to compensate plaintiffs and those similarly situated

for their diligent work protecting air travelers from harm violates plaintiffs’ rights under the Fair

Labor Standards Act and the Constitution of the United States and poses grave danger to the

safety of the nation’s skies.

                                             COUNT I

   VIOLATION OF PLAINTIFFS’ FIFTH AMENDMENT RIGHT TO DUE PROCESS
           (Individual Plaintiffs, and NATCA, on Behalf of Its Members)

        37.    Plaintiffs hereby incorporate paragraphs 1 through 36 in their entirety and restate

them herein.




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        38.    Plaintiffs have a constitutionally protected property interest in being paid their

salary at a rate admittedly effective during the period when the work was performed, under the

Due Process Clause of the Fifth Amendment to the Constitution of the United States. See Foley

v. Carter, 526 F. Supp. 977, 985 (D.D.C. 1981).

        39.    Since December 24, 2018, plaintiffs have and continue to perform their job duties

as Air Traffic Controllers and in related positions for the FAA.

        40.    Plaintiffs were due to receive their bi-weekly paycheck on January 11, 2019, for

work already performed, but that paycheck has not been issued. Thus, pay to plaintiffs at their

salary rate is due and owing as of January 11, 2019, for work already performed.

        41.    Prior to depriving plaintiffs of their property (i.e., pay for work already

performed), defendants failed to afford plaintiffs any procedure to challenge the deprivation or

otherwise be heard on this issue.

        42.    Defendants have therefore violated plaintiffs Fifth Amendment due process rights.

As a result of defendant’s actions, plaintiffs have suffered and continue to suffer irreparable

harm.

                                            COUNT II

     FAILURE TO PAY OVERTIME PURSUANT TO THE FLSA, 29 U.S.C. § 207(a)
             (Individual Plaintiffs Against Defendant United States Only)

        43.    Plaintiffs hereby incorporate paragraphs 1 through 42 in their entirety and restate

them herein.

        44.    The FLSA guarantees on-time payment of overtime wages earned for all covered

employees, like plaintiffs and those similarly situated here, on the employee’s regularly

scheduled payday. This obligation to pay overtime in a timely fashion persists during a lapse in

appropriated funds. Defendant United States has failed to compensate plaintiffs and those

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similarly situated, who are FLSA non-exempt, excepted employees, overtime wages earned for

the time period of December 19, 2018, through the present and ongoing, on their regularly

scheduled payday. The failure to issue timely payment for all hours suffered or permitted to work

beyond the applicable forty-hour threshold violated the FLSA per se. See 29 U.S.C. § 207(a).

       45.     Defendant has violated and continues to violate the provisions of the FLSA as

alleged herein in an intentional, willful, and bad faith manner.

       46.     As a result of Defendant United States’ willful and purposeful violations of the

FLSA, there have become due and owing to each of the plaintiffs, as well as those similarly

situated, various amounts that have not yet been precisely determined. The employment and

work records for each plaintiff are in the exclusive custody and control of Defendant United

States and its public agencies and the plaintiffs are unable to state at this time the exact amounts

owing to each of them. Defendant United States and its public agencies are under a duty imposed

by the Government Accounting Office retention schedule, the FLSA (29 U.S.C. § 211(c)), and

various statutory and regulatory provisions to maintain and preserve payroll and other

employment records with respect to plaintiffs and other employees similarly situated from which

the amounts of Defendant United States’ liability can be ascertained.

       47.     Pursuant to 29 U.S.C. § 216(b), plaintiffs and those similarly situated are entitled

to recover liquidated damages in an amount equal to their overtime back-pay damages for

Defendant United States’ failure to pay overtime compensation.

       48.     Plaintiffs are entitled to recover attorneys’ fees and costs under 29 U.S.C. §

216(b), as well as other applicable laws and regulations.




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                                              COUNT III

  FAILURE TO PAY MINIMUM WAGE PURSUANT TO THE FLSA, 29 U.S.C. § 206
           (Individual Plaintiffs Against Defendant United States Only)

        49.    Plaintiffs hereby incorporate paragraphs 1 through 48 in their entirety and restate

them herein.

        50.    The FLSA requires that employees shall be paid not less than $7.25 an hour for all

hours worked. See 29 U.S.C. § 206(a)(1). The FLSA further guarantees on-time payment of such

minimum wages for all covered employees, like plaintiffs and those similarly situated here, on

the employee’s regularly scheduled payday. This obligation to pay overtime in a timely fashion

persists during a lapse in appropriated funds. Defendant United States has failed to compensate

plaintiffs and those similarly situated, who are FLSA non-exempt, excepted employees,

minimum wage for work performed from December 23, 2018, through January 5, 2019, and

ongoing, on their regularly scheduled payday. The failure to issue timely payment at the

minimum wage rate for all hours worked violates the FLSA per se. See 29 U.S.C. § 207(a).

        51.    Defendant United States’ FLSA violations for failing to timely pay a minimum

wage is continuing in nature. Each regularly scheduled pay day that passes without the payment

of a minimum wage to FLSA non-exempt, excepted employees of the FAA further violates the

FLSA.

        52.    Defendant’s violations of the FLSA as alleged herein have been done in an

intentional, willful, and bad faith manner.

        53.    As a result of Defendant United States’ willful and purposeful violations of the

FLSA, there have become due and owing to each of the plaintiffs, as well as those similarly

situated, various amounts that have not yet been precisely determined. The employment and

work records for each plaintiff are in the exclusive custody and control of Defendant United

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States and its public agencies and the plaintiffs are unable to state at this time the exact amounts

owing to each of them. Defendant United States and its public agencies are under a duty imposed

by the Government Accounting Office retention schedule, the FLSA (29 U.S.C. § 211(c)), and

various statutory and regulatory provisions to maintain and preserve payroll and other

employment records with respect to plaintiffs and other employees similarly situated from which

the amounts of Defendant United States’ liability can be ascertained.

       54.      Pursuant to 29 U.S.C. § 216(b), plaintiffs and those similarly situated are entitled

to recover liquidated damages in an amount equal to their back-pay damages for Defendant

United States’ failure to pay for all hours worked at or above the minimum wage.

       55.      Plaintiffs are entitled to recover attorneys’ fees and costs under 29 U.S.C. §

216(b), as well as other applicable laws and regulations.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court enter each of the following

forms of relief:

             a. Enter judgment declaring that the defendants’ actions are in violation of the Fifth

                Amendment of the United States Constitution;

             b. Enter a temporary restraint as well as preliminary and permanent injunction

                against the defendants’ violation of the Fifth Amendment of the United States

                Constitution;

             c. Enter judgment declaring that Defendant United States has willfully and

                wrongfully violated its statutory obligations, and deprived each of the plaintiffs of

                their rights;




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          d. Order a complete and accurate accounting of all the compensation to which the

              plaintiffs are entitled;

          e. Award each plaintiff and member of the collective action monetary liquidated

              damages equal to any minimum wage and overtime compensation earned since

              December 22, 2018, as well as interest thereon;

          f. Award plaintiffs their reasonable attorneys’ fees to be paid by the Defendant

              United States, and the costs and disbursements of this action;

          g. Award interest pursuant to the Back Pay Act, 5 U.S.C. § 5596 on the backpay

              ordered for defendants’ violation of the Fifth Amendment;

          h. Certify this FLSA collective action; and

          i. Grant such other relief as may be just and proper.



Dated: January 11, 2019                             Respectfully submitted,

                                                    /s/ Molly A. Elkin
                                                    Gregory K. McGillivary
                                                    (DC Bar No. 411029)
                                                    Molly A. Elkin
                                                    (DC Bar No. 450295)
                                                    Sarah M. Block
                                                    (DC Bar No. 1026577)
                                                    John W. Stewart
                                                    (DC Bar No. 1028836)
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